
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-02-00159-CV


______________________________




BONNIE BRYAN MAYOR, Appellant



V.



VIDAL GARCIA, Appellee




                                              


On Appeal from the 61st Judicial District Court


Harris County, Texas


Trial Court No. 2001-36465




                                                 




Before Morriss, C.J., Ross and Carter, JJ.


Opinion by Justice Ross



O P I N I O N



	This case involves a dispute over a land sales contract.  Bonnie Bryan Mayor, the
seller, appeals a jury verdict and final judgment granting specific performance in favor of
Vidal Garcia, the buyer.  Mayor presents four points of error:  (1) whether the property
description in the land sales contract was insufficient under the statute of frauds as a
matter of law; (2) whether the trial court erred by not submitting a question on fraud to the
jury; (3) whether Garcia had "unclean hands" and was therefore not entitled to the
equitable remedy of specific performance; and (4) whether Mayor is entitled to attorney's
fees.

	Mayor became the sole owner of the disputed property on Fruge Road in 1985. After
becoming sole owner, Mayor never visited the property, but paid the taxes on it to the
Harris County Appraisal District (HCAD).  

	In May 2001, Garcia sought to purchase some property on or around Fruge Road
to build a home.  On May 30, 2001, after a series of negotiations, and without the
assistance of counsel, Garcia and Mayor entered into a land sales contract (Mayor-Garcia
contract).  The contract contained a property description taken from an HCAD report.  Both
parties signed the contract and scheduled closing for June&nbsp;22, 2001.  At closing, Garcia
tendered final payment on the property.  Mayor, however, did not attend. 

Garcia sued for specific performance on the contract.  A jury found in Garcia's favor,
and the trial court granted him specific performance and attorney's fees.  Mayor filed a
motion for judgment notwithstanding the verdict, which the trial court denied.  This appeal
followed.

In her first point of error, Mayor contends she was entitled to a judgment
notwithstanding the verdict because the property description in the Mayor-Garcia contract
was insufficient as a matter of law.  

Texas Rule of Civil Procedure 301 provides that a trial court may render judgment
non obstante veredicto (JNOV) if a directed verdict would have been proper. See Tex. R.
Civ.&nbsp;P. 301.  A directed verdict is proper when the evidence conclusively proves a fact that
establishes a party's right to judgment as a matter of law.  See Kline v. O'Quinn, 874
S.W.2d 776, 785 (Tex. App.-Houston [14th Dist.] 1994, writ denied).  Under the same
rationale, a motion for JNOV should be granted when the evidence is conclusive and one
party is entitled to judgment as a matter of law.  See Mancorp, Inc. v. Culpepper, 802
S.W.2d 226, 227-28 (Tex. 1990); Taco Cabana, Inc. v. Exxon Corp., 5 S.W.3d 773, 777
(Tex. App.-San Antonio 1999, pet. denied). 

The adequacy of a property description in a land sales contract is a question of law
within the purview of the statute of frauds.  See Morrow v. Shotwell, 477 S.W.2d 538, 540
(Tex. 1972).  We review questions of law de novo.  See Gill v. Boyd Distribution Ctr., 64
S.W.3d 601, 603 (Tex. App.-Texarkana 2001, pet. denied).

The statute of frauds requires that all conveyances of real property be in writing and
signed by the party to be charged.  See Tex. Bus. &amp; Com. Code Ann. § 26.01(b)(4) (Vernon
2002).  For a land sales contract to meet the requirements of the statute of frauds, it must
furnish within itself or by reference to another existing writing the means or data to identify
the particular land with reasonable certainty.  See Jones v. Kelley, 614 S.W.2d 95, 99 (Tex.
1981) (citing Morrow, 477 S.W.2d at 539; Wilson v. Fisher, 144 Tex. 53, 188 S.W.2d 150,
152 (1945)).  A description's validity under the statute of frauds is not affected by the
knowledge or intent of the parties.  See Morrow, 477 S.W.2d at 540.  Further, a plat made
from extrinsic evidence cannot give validity to the description.  See id.

Our task is to analyze the property description in the Mayor-Garcia contract to see
if it furnishes within itself the means or data to identify the tract with reasonable certainty. 
This is a two-step process:  (1) to look at the data in the contract itself and, if that fails, (2)
to determine whether the contract adequately references another document supplying the
missing terms.  

The Mayor-Garcia contract contained the following property description:

1.	PARTIES:   Bonnie Bryan Mayor (Seller) agrees to sell and
convey to Vidal Garcia (Buyer) and Buyer agrees to buy from
Seller the property described below.


						        Fruge RD 77025

2.	PROPERTY: Lot _______, Block TR 14A Allison Richey Addition,
City of 4.9500 AC  Gulf Coast Homes Sec P . County, Texas,
known as (C-3 Red, Vacant) ABST 626 0 Pitts (Address/Zip
Code), or as described on attached exhibit, (the Property).  


* Italicized words indicate the terms filled in by the parties.



According to Garcia, he obtained the "shorthand" description of the property from an
HCAD tax report.  On its face, the Mayor-Garcia property description is insufficient to identify
the property with reasonable certainty.  First, the description provides no county or city for the
property.  Even though the zip code 77025 is listed in the description, presumably providing
the data necessary to identify the city and county of the property, at trial, Mayor testified that
her property lies within 77047 not the 77025 zip code. Without resorting to parol, there is no
way to determine the city or county of the property.  While we have found no case explicitly
holding that failure to list the county and city in the description is, by itself, fatal, several cases
have relied on such failure as strong evidence of an insufficient description.  See, e.g., Pick
v. Bartel, 659 S.W.2d 636, 638 (Tex. 1983). (1)

Failure to list a county and state of the property is only one of a series of shortcomings
with the Mayor-Garcia property description.  In addition to providing no county or state, the
description does not show the total acreage to be sold, nor does it provide the data necessary
to arrive at this determination.  From parol, we know Mayor owned 5.082 total acres on Fruge
Road.  But nowhere in the description is 5.082 acres specified.  Although "4.9500 AC" is
stated in the description, it is not clear this refers to acreage.  Even if we construe the "4.9500
AC" as a reference to acreage, it is inconsistent with Mayor's total acreage on Fruge Road. 
	In addition, despite Garcia's assertion, the Mayor-Garcia contract does not indicate that
Mayor intended to sell her "entire tract" on Fruge Road.  

On the issue of the quantity of land contracted for, Garcia directs us to Tex. Pac. Coal
&amp; Oil Co. v. Masterson, 160 Tex. 548, 334 S.W.2d 436 (1960).  Masterson held that minor
differences between contracted acreage and actual acreage in the deed are not fatal to the
description.  We agree with Masterson so long as there is another means to determine the
amount of property to be sold.  Masterson is illustrative on this point.  In Masterson, the
property description contained the following language:  "All the unsold portion containing 186.4
acres out of the 640 acres . . . ."  Id. at 438.  But the unsold portion contained more than 186.4
acres.  The question facing the court was whether the term "186.4 acres" or "All the unsold
portion" controlled.  Applying contractual rules of construction, the court  gave effect to the
phrase "All the unsold portion," concluding that "[t]he call for acreage . . . is the least reliable
. . . in a deed."  Id. at 439.  

But Masterson is distinguishable from the present case.  As stated above, nothing in
the Mayor-Garcia contract, including the property description itself, indicated the parties
intended to sell "all" of Mayor's property on Fruge Road.  Unlike the description in Masterson,
the Mayor-Garcia description provided no mechanism to determine the quantity of property to
be sold.  Without resorting to inferences or parol evidence, we cannot know with reasonable
certainty the quantity of property contracted to be sold.  

In Texas, the use of parol evidence to aid the determination of a property description
is limited.  The Texas Supreme Court in Pick, 659 S.W.2d at 637 (quoting Wilson, 188 S.W.2d
at 152), reiterated this limitation: 

The certainty of the contract may be aided by parol only with certain
limitations.  The essential elements may never be supplied by parol.  The
details which merely explain or clarify the essential terms appearing in the
instrument may ordinarily be shown by parol.  But the parol must not
constitute the framework or skeleton of the agreement.  That must be
contained in the writing.  Thus, resort to extrinsic evidence, where proper at
all, is not for the purpose of supplying the location or description of the land,
but only for the purpose of identifying it with reasonable certainty from the
data in the memorandum.

Here, the quantity of property contracted to be sold is left to baseless inferences or to
be supplied by parol evidence.

Next, Garcia cites Garner v. Redeaux, 678 S.W.2d 124 (Tex. App.-Houston [14th Dist.]
1984, writ ref'd n.r.e), as the "single most similar case" to the instant case.  In Garner, the
property description in question was written on the back of an earnest money check and was
missing both the county and state of the property.  The court found that the description was
sufficient.  In reaching its conclusion, the court inferred the county and state by liberally
construing the other terms of the agreement and resorting to parol evidence.  See id. at 127-28.  While recognizing the limitations of parol evidence, the court allowed its use based on a
conclusion that the property description on the back of the cashier's check was only a partially
integrated document not intended to be a complete embodiment of the parties' agreement. 
Id. at 128.  We believe these facts, along with the property description in Garner, stand in stark
contrast to the instant case.  It is instructive to review Garner's property description side by
side with the Mayor-Garcia property description.  The Garner property description contained
the following terms:

9-6-78

From Mr. &amp; Mrs. Garner

Lot tract land

tract 66-Block 3

Highland Home Addition


Id. at 125.


The Mayor-Garcia property description contained the following terms:

Fruge RD 77025 

TR 14A

Allison Richey 

4.9500AC

Gulf Coast Homes Sec P

(C-3 Red, Vacant) ABST 626 0 Pitts


Both descriptions are missing the county and state of the properties.  This, however,
is where their similarities end.  The Garner description refers to a platted subdivision
("Highland Home Addition"), the entirety of a specific tract ("tract 66"), and a block ("Block&nbsp;3")
therein.  Conversely, the Mayor-Garcia description, while referring to a subdivision (Allison
Richey), does not provide a tract, block, or lot number consistent with the property Mayor
owned.  Although the term "TR 14A" may refer to a tract number, such is not entirely clear. 
Mayor's deed indicates she owned Lot 14.  This raises the question:  Assuming "TR 14A" does
refer to Lot 14, does the "A" mean that only a certain portion of the property was contracted
to be sold?  Is there also a TR 14B?  Any inference becomes even more tenuous when
reading the term in context with an HCAD tax report.  In that context, "TR 14A" refers to a tax
tract used for tax appraisal purposes. 

While we can be reasonably certain from the description that Mayor and Garcia
intended to sell some property within the "Allison Richey" subdivision, we cannot conclude with
exact certainty what property, or how much property, within the Allison Richey subdivision
Mayor contracted to sell.  Without speculation, tenuous inferences, or parol evidence, we
cannot know with reasonable certainty the parameters of the contracted-for property. 

Garcia also asks us to apply the "nucleus of description" theory.  This theory, outlined
in Gates v. Asher, 154 Tex. 538, 280 S.W.2d 247, 248-49 (1955), provides that, if enough
information appears in the description so that a party familiar with the locality can identify the
property with reasonable certainty, then the property description will be sufficient.  

To support the proposition that the Mayor-Garcia property description contained a
"nucleus of description," Garcia points to Stewart Title's ease in locating the property with only
the information contained in the property description. (2)

The "nucleus of description" theory applied in Gates, however, is distinguishable from
the present case.  In Gates, the court of appeals concluded the property description failed
because it contained a reference to a nonexisting survey-"Denver Resurvey No.&nbsp;2."  See id.
at 249.  The Texas Supreme Court, however, read all the terms of the Gates property
description together and determined that "Denver Resurvey No. 2" actually referred to an
existing survey-"Denver Resurvey" and the No.&nbsp;2 referred to a block number within the
"Denver Resurvey."  The court merely construed existing terms within the description liberally
to provide meaning to all the terms of the description.  See id.  In our case, however, no terms
within the description provide a "nucleus of description" for either the quantity of acreage to
be sold or Mayor's intention to sell all of her property, or the county and city of the property. 
We conclude, therefore, that the Mayor-Garcia contract does not contain a sufficient "nucleus
of description."

In addition, Garcia contends the reference to "Fruge Road" in the description was
enough to describe the land with reasonable certainty because Mayor only owned one tract
of land on Fruge Road.  In support of his contention, Garcia points to the Texas Supreme
Court's holding in Kmiec v. Reagan, 556 S.W.2d 567, 569 (Tex. 1977).  In Kmiec, the court
held, "When the grantor is stated to be the owner of the property to be conveyed and it is
proved that the grantor owns only a single tract answering the description, the land is identified
with reasonable certainty."  Id.  

But Kmiec is also distinguishable from the instant case.  Kmiec involved an option
contract to buy three separate tracts of land-150 acres of tract #1 and two tracts of 168.25
acres each.  The defect in the Kmiec-Reagan option was an uncertainty about the shape of
two of the tracts, not the quantity of the property.  Reagan, the seller, only owned the three
tracts of land specified in the option.  Id.  In addition, the property description within the option
contract contained a specific reference to the acreage to be sold-one tract containing 150
acres and two tracts containing 168.25 acres each.  Id.  The court found that, because Reagan
only owned these tracts, the tracts were sufficiently described.  In the Mayor-Garcia contract,
however, there was no quantity, or at minimum an inconsistent quantity of property described. 
Further, there was no indication that Mayor intended to sell all of her property on Fruge Road.
This was not enough to describe the property with reasonable certainty.  

In the Mayor-Garcia property description, the essential elements of location and
quantity of property to be sold are either left to inference or to be supplied by parol.  Thus, in
looking at the property description, we conclude that the description itself it is insufficient as
a matter of law.

But this does not end our inquiry.  The next step is to determine whether the contract
sufficiently references another writing supplying the missing terms.  If it does, the referenced
writing must have been in existence at the time the parties signed the contract. See Jones,
614 S.W.2d at 99.

As noted above, Garcia testified he obtained the "shorthand" description of the property
from an HCAD report.  But the description in the Mayor-Garcia contract provides no reference
to the HCAD report.  Moreover, even if the contract specifically referenced the HCAD report,
the report itself fails to provide a sufficient description. (3)  Therefore, under step two of our
inquiry, there is no referenced document providing the missing essential terms.

Even if Garcia and Mayor knew and understood what property was intended to be
conveyed, it would not be enough to validate a defective property description.  Moreover, as
Garcia points out, Stewart Title by a search of abstract records and by using the information
in the Mayor-Garcia property description, was able to locate the property and make a plat.  But
as the Supreme Court aptly stated in Morrow v. Shotwell, 477 S.W.2d 538, 540 (Tex. 1972),
"knowledge and intent of the parties will not give validity to the contract, neither will a plat
made from extrinsic evidence. The essential elements of a property description may never be
supplied by parol."  Id. at 541.  In the Mayor-Garcia contract, the essential elements of the
description are either left to inference or to be supplied by parol.  Such a description is
palpably insufficient to support a suit either for specific performance or for damages.  See
Wilson, 188 S.W.2d at 154.  Mayor's first point of error is sustained.

Having found the Mayor-Garcia description invalid, we must now determine the proper
disposition of this case.  Garcia requests that if we reverse, we remand for reformation rather
than reverse and render the judgment in favor of Mayor.  However, Garcia raises reformation
for the first time in a motion for new trial filed with this Court.  He never pled reformation at
trial, nor did he ask for reformation in his initial appeal.  If an argument is not raised in the trial
court or briefed on appeal, the argument should not be created by the court of appeals. 
Garcia v. Robinson, 817 S.W.2d 59 (Tex. 1991); see also Guadalupe-Blanco River Auth. v.
Pitonyak, 84 S.W.3d 326, 337 (Tex. App.-Corpus Christi 2002, no pet.) (stating that, although
appellees sought specific type of relief based on particular allegations, such claim not raised
in trial court pleadings and therefore waived).  Garcia, therefore, has waived this remedy. (4)   

Because Mayor's appeal is reversed and rendered on her first point of error, voiding
the Mayor-Garcia contract under the statute of frauds, we need not address the issues of fraud
and "unclean hands." The only outstanding issue on appeal, therefore, is whether Mayor is
entitled to attorney's fees. Consistent with the Mayor-Garcia contract and a jury's finding on
this issue, we conclude Mayor is entitled to attorney's fees. 

The Mayor-Garcia contract contained the following provision:  

ATTORNEY'S FEES:  The prevailing party in any legal proceeding brought
under or with respect to the transaction described in this contract is entitled to
recover from the non-prevailing party all costs of such proceeding and
reasonable attorney's fees. 


	The jury found that a reasonable attorney's fee for Mayor is $12,000.00, and for appeal,
$5,000.00.  Because we render judgment in favor of Mayor, she is entitled to $17,000.00 in
attorney's fees.

	For the reasons stated, the judgment granting specific performance and attorney's fees
in favor of Garcia and against Mayor is reversed and rendered, and judgment is hereby
granted in favor of Mayor against Garcia for attorney's fees in the total amount of $17,000.00.



						Donald R. Ross

						Justice



Date Submitted:	February 21, 2003

Date Decided:	April 16, 2003
1. 
1Other cases similarly holding include:  Wilson v. Fisher, 144 Tex. 53, 188 S.W.2d 150, 152
(1945); Osborne v. Moore, 112 Tex. 361, 247 S.W. 498, 500 (1923); Coker v. Roberts, 71
Tex. 597, 9 S.W. 665, 667 (1888); Jones v. Carver, 59 Tex. 293, 294 (1883); Yenda v.
Wheeler, 9 Tex. 408 (1853); Wiseman v. Zorn, 309 S.W.2d 253, 260 (Tex. Civ. App.-
Houston 1958, no writ); Cf. Garner v. Redeaux, 678 S.W.2d 124, 127 (Tex. App.-Houston
[14th Dist.] 1984, writ ref'd n.r.e.).

2. 
2It is not clear from the record whether Stewart Title used other documents to locate the
property.

 
3. 
3The HCAD report contains no more information than the Mayor-Garcia property
description.
4. While we recognize that, in certain circumstances, in the interest of justice we can remand
for reformation sua sponte, we do not believe this course of action is appropriate here. 
See, e.g., Morrow v. Shotwell, 477 S.W.2d 538, 541-42 (Tex. 1972) (finding reformation
appropriate remedy in interest of justice).  First, the evidence is not clear there was a
mutual mistake of the parties.  Moreover, such an equitable remedy would require Garcia
to have "clean hands." At trial, Mayor made at least an allegation of fraud in the
inducement.  Although the jury never addressed this issue and we do not reach this issue
on appeal, from the evidence in the record we cannot say with full confidence that Garcia
had "clean hands" and that "justice would require reformation."



 whether the assertion of personal jurisdiction comports with
fair play and substantial justice.  Guardian Royal Exch. Assurance, Ltd., 815 S.W.2d at
228.  These factors include (1) the burden on the defendant, (2) the interests of the forum
state in adjudicating the dispute, (3) the plaintiff's interest in obtaining convenient and
effective relief, (4) the interstate judicial system's interest in obtaining the most efficient
resolution of controversies, and (5) the shared interest of the several states in furthering
fundamental substantive social policies.  Id. (quoting  World-Wide Volkswagen Corp., 444
U.S. at 292; Rudzewiez, 471 U.S. at 477; PHC-Minden, L.P. v. Kimberly-Clark Corp., No.
12-04-00259-CV, 2005 WL 1979102, at *3 (Tex. App.—Tyler Aug. 17, 2005, pet. filed) (not
designated for publication).  In that portion of the  inquiry, it is the defendant's job to
present "a compelling case that the presence of some consideration would render
jurisdiction unreasonable."  Rudzewiez, 471 U.S. at 477; Guardian Royal Exch. Assurance,
Ltd., 815 S.W.2d at 231. Even if the nonresident defendant has purposefully established
minimum contacts with the forum state, the exercise of jurisdiction may not be fair and
reasonable under the facts in a particular case.  Rudzewiez, 471 U.S. at 479; Guardian
Royal Exch. Assurance, Ltd., 815 S.W.2d at 231.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applying the named factors, we recognize there would be some burden on
Schexnayder for having to defend himself in a lawsuit 150 miles away from his home, in
another state.  However, we also recognize that distance is not so important a factor now
as it has been historically.  Also, because Schexnayder is licensed in Arkansas, not in
Texas, it would appear that, in connection with a medical malpractice claim, his state of
residence would have more interest in the dispute than would Texas.  However, because
Journee was a Texas resident, this State has an inherent interest in protecting its citizens
and providing them with a remedy for alleged tortious injuries inflicted on them within this
State.  Daniels also has an inherent interest in pursuing the lawsuit locally rather than
being required to travel the 150 miles to pursue her interests—perhaps under a different
set of laws than those of her resident state.  The factor of efficiency does not appear to be
an issue in any respect. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The final factor involves the shared interest of the states in furthering fundamental
substantive social policies.  That concept is implicated in this case.  There is a fundamental
notion that the citizens of each state should be able to access knowledge and specialized
expertise and seek assistance across state lines without unnecessary hindrance. 
Competing against that is the notion that an injured party should be able to seek
recompense—in the state of the party's residence where the event occurred—for damages
allegedly caused by the negligent behavior of another.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, except for geographic considerations, there is no suggested reason
why the case should be brought in Arkansas rather than Texas.  Based on evidence that
Schexnayder was the one who approved Journee's transfer to ACH and was actively
involved with the transport team in treating her as a patient in this State, we conclude the
contacts involving Schexnayder were not so attenuated as to violate concepts of due
process. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Although we recognize the bright-line attraction of looking solely to the place where
the calls originated as determining whether jurisdiction lies in Texas, that simplistic formula
is not persuasive.  Compare Mason, 919 F. Supp. 235, with Thompson v. Chrysler Motors
Corp., 755 F.2d 1162, 1171 (5th Cir. 1985), and Brown v. Flowers Indus., Inc., 688 F.2d
328, 333 (5th Cir. 1982).  Other factors necessarily explain the nature of telephone
conversations, and the question of whether the resident of one state first called another
should not control in all situations.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We conclude that, under this evidence and under the application of the law to that
evidence as set out above, Schexnayder's contacts with Texas were sufficient in this
particular instance to meet the requirements of due process and allow the litigation to
proceed in this State.  We emphasize, however, that this ruling is limited to these facts, and
should not  automatically be expanded to dissimilar situations.  It is critical to our analysis
that the team in this case was from Schexnayder's own hospital and that it was working
together on a person who had been accepted as a patient of that hospital.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;General Jurisdiction
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;As previously set out, determining whether general jurisdiction exists requires a
more stringent level of analysis than specific jurisdiction.  General jurisdiction exists when
the contacts are continuous and systematic so that the forum may exercise personal
jurisdiction over the defendant even if the cause of action did not arise from or relate to
activities conducted within the forum state.  Marchand, 83 S.W.3d at 796; Coleman, 83
S.W.3d at 807.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, there is no evidence that Schexnayder did business on a regular basis
in Texas.  Schexnayder has never advertised his services in Texas, but his services are
advertised in the websites of ACH and the University of Arkansas for Medical Sciences,
along with his job description as critical care section chief, certifications, background, and
contact  information.  Daniels also points out that the hospitals advertise that they provide
helicopter transport throughout Arkansas and the region for critically ill and injured infants
and children to their specialized facility.  There was also evidence that Schexnayder had
received patients from Texas hospitals about seven times in the months around Journee's
death and that he had assisted with the care of patients by telephone conference
numerous times.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Daniels did not allege that jurisdiction exists because Schexnayder maintained an
office, warehouse space, a mailing address, a telephone listing, subscribed to an
answering service, or had or has any other direct business location in Texas.  Cf. Michel
v. Rocket Eng'r Corp., 45 S.W.3d 658, 666–72 (Tex. App.—Fort Worth 2001, no pet.) (first
inquiry in general jurisdiction analysis is whether nonresident business has created
"general business presence" in forum state).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We do not find the testimony that Schexnayder talked on the telephone with doctors
in Texas, even assisting those doctors in treatment of their patients, establishes either a
continuous or systematic presence in the State of such a nature as to justify treating him
as a person who might be haled into court in Texas.  Thus, general jurisdiction does not
lie on these facts.  The remaining question is whether that evidence, together with
evidence about the ACH and University of Arkansas for Medical Sciences websites, might
combine to show such a presence. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We review the evidence related to the websites to determine whether it is sufficient
to support the implied findings of specific and general jurisdiction by the trial court. 
"Internet use is characterized as falling within three categories on a sliding scale for
purposes of establishing personal jurisdiction."  Michel, 45 S.W.3d at  677 (citing Jones v.
Beech Aircraft Corp., 995 S.W.2d 767, 772 (Tex. App.—San Antonio 1999, pet. dism'd
w.o.j.)).   At one end of the scale are websites clearly used for transacting business over
the internet, such as entering into contracts and knowing and repeated transmission of files
of information, which may be sufficient to establish minimum contacts with a state.  Michel,
45 S.W.3d at 677.  On the other end of the spectrum are "passive" websites that are used
only for advertising over the internet and are not sufficient to establish minimum contacts,
even though they are accessible to residents of a particular state.  Id.  In the middle are
"interactive" websites that allow the "exchange" of information between a potential
customer and a host computer.  Id.  Jurisdiction in cases involving interactive websites is
determined by the degree of interaction.   Id.; I &amp; JC Corp. v. Helen of Troy L.P., 164
S.W.3d 877, 889 (Tex. App.—El Paso 2005, pet. denied).  Texas courts (including this
one) have used this test in determining whether an internet site is sufficient to support the
exercise of general jurisdiction over a defendant.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In this case, the evidence shows that Schexnayder's biography, credentials, and job
description were all set out on the ACH website.  The main thrust of the website is
informational in nature—which would necessarily lead to the potential for use of ACH for
its specialized purpose.  The evidence shows that it was possible to interact via e-mail with
the site, that physicians could register for continuing medical education on the site, and
that individuals could apply online for jobs.  The evidence does not indicate that doctors
interacted on patient care online.  Even if we ascribed all of the actions on the website to
Schexnayder, this level of connectivity simply does not rise to the level or purpose of
interaction that would justify finding that Schexnayder had submitted himself to the
jurisdiction of Texas courts.  The evidence does not reach the higher level necessary to
justify a finding that the minimum contacts necessary to support a finding that the website,
either alone or in combination with the other evidence subjected him to the general
jurisdiction of the court.
Conclusion&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because we find the evidence of minimum contacts is sufficient to support a finding
of specific jurisdiction, we affirm the judgment.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Donald R. Ross
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice 

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;January 25, 2006
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;February 23, 2006


